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                                      EXHIBIT A
                                    Proposed Order




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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re                                                             Chapter 11

AMERICAN APPAREL,INC., et al.,l                                   Case No. 15-12055(BLS)

                 Debtors.                                        (Jointly Administered)


          ORDER EXTENDING THE DEBTORS'EXCLUSIVE FILING
 PERIOD TO FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

                 This matter coming before the Court on the Debtors'Motion For An Oder

Extending Them Exclusive Filing Period To File A ChapteN 11 Plan and Solicit Acceptances

Thereof(the "Motion"),2 filed by the above-captioned debtors (the "Debtors"); the Court having

reviewed the Motion and having heard the statements of counsel regarding the relief requested in

the Motion at the hearing before the Court(the "Hearing"); the Court finding that(i) the Court

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;(ii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2);(iii) notice of the Motion and the Hearing was

sufficient under the circumstances; and (iv) cause, within the meaning of section 1121(d) of the

Bankruptcy Code, exists for the extension ofthe Exclusive Periods requested in the Motion; and

the Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein;

                 IT IS HEREBY ORDERED THAT:

                            The Motion is GRANTED as set forth herein.

       '          The Debtors are the following six entities (the last four digits of their respective taxpayer
identification numbers follow in parentheses): American Apparel, Inc.(0601); American Apparel(USA),LLC
(8940); American Apparel Retail, Inc.(7829); American Apparel Dyeing &Finishing, Inc.(0324); KCL Knitting,
LLC(9518); and Fresh Air Freight, Inc.(3870). The address of each of the Debtors is 747 Warehouse Street, Los
Angeles, California 90021.
                 Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Motion.




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               2.      The Exclusive Filing Period is extended through and including May 2,

2016, pursuant to section 1121(d) ofthe Bankruptcy Code.

               3.      The Exclusive Solicitation Period is extended through and including July 1,

2016, pursuant to section 1121(d) ofthe Bankruptcy Code.

               4.          The relief granted in this Order is without prejudice to the Debtors' rights

to seek further extensions ofthe Exclusive Filing Period and the Exclusive Solicitation Period.

               5.          The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

               6.          The Court retains jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.

 Dated:                     ,2016
           Wilmington, Delaware                  The Honorable Brendan L. Shannon
                                                 Chief United States Bankruptcy Judge




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